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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JOHN KARPILOVSKY and JIMMIE
 CRIOLLO, JR., individually and on behalf of
 all others similarly situated,
                                                   Case No. 1:17-cv-01307

                    Plaintiff                      Hon. Harry D. Leinenweber

         v.

 ALL WEB LEADS, INC., a Delaware
 corporation,

                    Defendant.


                        ORDER ON PLAINTIFFS’ MOTION
              FOR ATTORNEYS’ FEES, COSTS, AND INCENTIVE AWARDS

       The Court having held a Hearing on Plaintiffs’ Unopposed Motion for Final Approval of

Class Action Settlement and Motion for Attorneys’ Fees, Costs, and Incentive Awards on August

8, 2019, notice of this Hearing having been duly given in accordance with this Court’s

Preliminary Approval Order, having considered all matters submitted to it, and good cause

appearing therefore,

       It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

       1.      The Court is concurrently entering an Order approving a class action settlement

calling for Defendant to pay $6,500,000 into a non-reversionary settlement fund for the benefit

of the settlement class.

       2.      In connection with the settlement, all forms of Class Notice specifically and

clearly advised Class Members that Class Counsel would seek attorneys’ fees of $2,275,000,

reimbursement for their out-of-pocket expenses litigating this matter, and service awards of

$10,000 for the two named plaintiffs.
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        3.      Accordingly, Class Counsel has petitioned the Court for attorneys’ fees in the

amount of $2,275,000 to be paid from the Settlement Fund in accordance with the terms of the

Settlement Agreement.

        4.      Class Counsel additionally seek reimbursement of their out-of-pocket costs of

$221,310.14 incurred in prosecuting the case.

        5.      Class Counsel also respectfully move for an award of $10,000 to Plaintiffs for

their work on behalf of the Class.

        6.      Defendant has not opposed the requested fees, costs, or incentive awards.

Similarly, although the Class received notice of the requested fees, costs, and incentive awards,

no other objection has been raised to the request.

        7.      The Court has considered the arguments and authorities in Class Counsel’s

petition, being fully advised thereof, and good cause having been shown, the Court finds that a

fee award of $2,275,000 is fair and reasonable under the circumstances and consistent with the

factors set forth in Pearson v. NBTY, Inc., 772 F.3d 778 (7th Cir. 2014), and GRANTS the

request in its entirety.

        8.      The Court further finds that Class Counsel’s request for reimbursement of their

out-of-pocket costs of $221,310.14 incurred in prosecuting the case is fair and reasonable.

        9.      The Court further finds that incentive awards to Plaintiffs John Karpilovsky and

Jimmie Criollo, Jr., in the amount of $10,000 each, to be fair, reasonable, and appropriate in light

of their efforts on behalf of the class, and grants Plaintiffs’ Motion for Incentive Awards.
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     IT IS SO ORDERED.




DATED: 8/8/2019                      ________________________________________
                                     THE HONORABLE HARRY D. LEINENWEBER
                                     UNITED STATES DISTRICT JUDGE
